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 1   DAVID A. TORRES AND ASSOCIATES
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 5
     Attorney for:
 6   ROBERTO PALACIOS-GARCIA
 7                                    UNITED STATES DISTRICT COURT
 8                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10    UNITED STATES OF AMERICA,                        Case No. 16-CR-00094 LJO-SKO
11                       Plaintiff,
12           v.                                        STIPULATION AND ORDER TO
                                                       CONTINUE TRIAL SETTING
13    ROBERTO PALACIOS-GARCIA,                         CONFERENCE
14                       Defendants.
15

16   TO: THE CLERK OF THE UNITED STATES DISTRICT COURT, HONORABLE
17   LAWRENCE J. O’NEILL AND KATHLEEN SERVATIUS, ASSISTANT UNITED STATES
18   ATTORNEY:
19          COMES NOW Defendant, ROBERTO PALACIOS-GARCIA, by and through his

20   attorney of record, DAVID A. TORRES hereby requesting that the trial setting conference

21   hearing currently set for Monday, June 3, 2019, to be continued to June 10, 2019 at 9:30 a.m.

22          On Friday, May 24th, I received an email informing m\e of my acceptance to attend the

23   National Forensic College at the Cardozo School of Law in New York City. The classes begin on

24   Sunday, June 2nd and end on Friday. June 7th. I have met with my client to inquire whether he

25   agrees to waive time. My client indicted he would. I have spoken to co-counsel, Erin Snider to

26   AUSA Kathleen Servatius, and she has no objection to continuing the sentencing hearing

27          Based on the unavailability of counsel for defendant Roberto Palacios-Garcia, and to

28   ensure continuity of counsel, the ends of justice served by continuing the case as requested
                                                       1
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 1   outweigh the interest of the public and the defendant in a trial within the original date prescribed

 2   by the Speedy Trial Act.

 3          For the purpose of computing time under the Speedy Trial Act, 18 U.S. C. §3161, et seq.,

 4   within which trial must commence, the time period of June 4, 2019 until June 10, 2019, inclusive,

 5   is deemed excludable pursuant to 18 U.S.C. §3161(h)(7)(A), B(i) because it results from a

 6   continuance granted by the Court at defendant’s request on the basis of the Court’s findings that

 7   the ends of justice served by taking such action outweigh the best interest of the public and the

 8   defendant in a speedy trial.

 9
            IT IS SO STIPULATED.
10                                                                 Respectfully Submitted,
     DATED: May 29, 2019                                           /s/ David A Torres      __
11                                                                 DAVID A. TORRES
                                                                   Attorney for Defendant
12
                                                                   ROBERTO PALACIOS-GARCIA
13

14   DATED: May 29, 2019                                           /s/ Erin Snider        ___
                                                                   ERIN SNIDER
15                                                                 Attorney for Defendant
                                                                   OTONEL CARDENAS-TORRES
16

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18
     DATED: May 29, 2019                                           /s/Kathleen A. Servatius________
19                                                                 KATHLEEN A. SERVATIUS
                                                                   Assistant U.S. Attorney
20
21

22                                                ORDER
23
            IT IS SO ORDERED that the trial setting conference be continued to June 10, 2019 at
24
     9:30am as to defendants Roberto Palacios-Garcia and Otonel Cardenas-Torres.
25   IT IS SO ORDERED.
26
        Dated:     May 29, 2019                             /s/ Lawrence J. O’Neill _____
27                                                 UNITED STATES CHIEF DISTRICT JUDGE
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     Case 1:16-cr-00094-JLT-SKO Document 60 Filed 05/29/19 Page 3 of 3


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